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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
CHRISTINE M. BELL d/b/a                     :
ALLEGIANCE MORTGAGE SERVICES                :
1363 Laurelwood Road                       :
Pottstown, PA 19465                         :
                                            :    C.A. NO.
    On Behalf Of Herself And All            :
    Others Similarly Situated,             :
                                            :    CLASS ACTION
                     Plaintiff,             :
                                            :
               v.                           :
                                            :
COMMERCIAL CAPITAL FUNDING CORP.            :
5120 Robert J. Mathews Parkway, #2          :
El Dorado Hills, CA 95762
                                            :
                      Defendant.            :
_____________________________________       :

                             CLASS ACTION COMPLAINT

                                   I. INTRODUCTION

          Plaintiff brings this action pursuant to the Telephone Consumer Protection Act

(“TCPA”), and as amended by the Junk Fax Prevention Act of 2005 (“JFPA”), 47 U.S.C.

§ 227 et seq. Plaintiff seeks to represent a Class, defined below, who were sent one or

more fax advertisements by or on behalf of Commercial Capital Funding Corporation

(“Defendant” or “CCF”) during the class period. Plaintiff seeks to recover statutory

damages authorized by the JFPA, 47 U.S.C. § 227(b)(3)(B).

                                       II. PARTIES

     1.      Plaintiff Christine M. Bell is a loan correspondent doing business under the

name of Allegiance Mortgage Services, with an office located in Chester County,

Pennsylvania. Plaintiff is, and at all relevant time has been, a citizen of the




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Commonwealth of Pennsylvania. She brings this action individually and on behalf of a

plaintiff class defined herein.

     2.         Defendant Commercial Capital Funding is a nationwide commercial lending

company headquartered in California. At all times material hereto, CCF was engaged in

business within the Commonwealth of Pennsylvania and within the Eastern District of

Pennsylvania.

                          III. JURISDICTION AND VENUE

      3.       This Court has original jurisdiction over these claims pursuant to 28 U.S.C. §

1332(d)(2). This is a class action filed under Rule 23 of the Federal Rules of Civil

Procedure, the amount in controversy exceeds $5,000,000.00, exclusive of interests and

costs, and the Plaintiff and many members of the class are citizens of a State different

from that of Defendant.

     4.        Venue is proper in this district pursuant to 28 U.S.C § 1391. Defendant is

subject to personal jurisdiction within this District. A substantial part of the events or

omissions giving rise to the claim occurred in this District as Defendant caused facsimile

advertisements to be sent into this District in violation of the Junk Fax Prevention Act.

                               IV. FACTUAL BACKGROUND

          5.       On May 29, 2007 and July 10, 2007, Plaintiff received on her facsimile

machine unsolicited advertisements [as that term is defined in the Junk Fax Prevention

Act, 47 U.S.C. § 227 (a)(5)] sent by or on behalf of Defendant. True and correct copies

of the unsolicited advertisements received by Plaintiff are attached hereto as Exhibit A.

          6.       Defendant did not have express invitation or permission to transmit

facsimile advertisements to Plaintiff.




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       7.      Plaintiff does not have a prior established business relationship with

Defendant.

       8.      The faxes attached hereto as Exhibit A do not contain an opt-out notice

meeting the requirements of 47 U.S. C. § 227(b)(1)(C) (iii) and 227(b)(2)(D).

       9.      Upon information and belief, Plaintiff alleges that Defendant has faxed, or

caused to be faxed on its behalf, advertisements to Plaintiff and Class members that do

not contain an opt-out notice meeting the requirements of 47 U.S. C. § 227(b)(1)(C) (iii)

and 227(b)(2)(D).

       10.     Defendant’s actions violate the TCPA and the Junk Fax Prevention Act,

and Plaintiff and the Class are entitled to damages as outlined below.

                           V. CLASS ACTION ALLEGATIONS

       11.     Class Definition. Plaintiff brings this action pursuant to Federal Rule of

Civil Procedure 23 on behalf of the following class:

               All persons or entities that are holders of telephone
               numbers to which a facsimile transmission was sent by or
               on behalf of Commercial Capital Funding at any time
               between September 28, 2003 to and including the present
               (the “Class Period”), substantively similar to any of the
               faxes attached hereto as Exhibit A, or otherwise advertising
               Commercial Capital Funding. Excluded from the class are
               Defendant, and its officers, directors, employees, agents,
               predecessors, successors, subsidiaries, parents and affiliates
               (the >Class’).

Plaintiff reserves the right to amend the definition of the Class upon completion of class

certification discovery.

       12.     A class action is the only practical means available for members of the

class to recover the statutory damages to which each is entitled, and to stop Defendant’s

unlawful conduct.



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       13.     Numerosity (F.R.C.P. 23(a)(1)). The class is so numerous that joinder of

all members is impracticable. Plaintiff believes, and therefore avers, that faxes such as

those attached hereto as Exhibit A were sent to thousands of mortgage professionals

throughout the country. Indeed, the very nature of fax advertising indicates that the Class

is more than sufficiently numerous to make joinder impracticable. Identification of the

members of the class can be ascertained in discovery of Defendant’s database and/or

from Defendant’s other books and records, or from the records and/or database of the

entity that sent the faxes on Defendant’s behalf, if different.

       14.     Commonality (F.R.C.P. 23(a)(2)). Common questions of law and fact

apply to the claims of all class members. Common material questions of law and fact

include, but are not limited to, the following:

               a.      whether Defendant sent unsolicited advertisements via facsimile to

the fax machine of Plaintiff and members of the Class;

               b.      whether the documents attached hereto as Exhibit A are

advertisements for the commercial availability of products, goods or services;

               c.      whether Defendant violated the TCPA and the JFPA by sending

unsolicited facsimile advertisements to the fax machine of Plaintiff and Class members as

to render them liable to the Class;

               d.      Whether the faxes at issue contain a notice meeting the

requirements of 47 U.S.C. § 227 (b)(1)(C)(iii) and (b)(2)(D)(i)-(vi).

               e.      Whether the faxes were sent willfully and/or knowingly.

       15.     Typicality (F.R.C.P. 23(a)(3)). Plaintiff=s claims are typical of the

claims of all class members. Plaintiff is a class member who received facsimiles sent by




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or on behalf of Defendant during the Class Period. Plaintiff is making the same claims

and seeking the same relief for herself and all class members based on the same statute.

Defendant has acted in the same or similar manner with respect to Plaintiff and all other

class members.

         16.    Fair and Adequate Representation (F.R.C.P. 23(a)(4)). Plaintiff will

fairly and adequately represent and protect the interests of the class. She is interested in

this matter, has no conflicts, and has retained experienced class counsel to represent the

Class.

         17.    Need for Consistent Standards and Practical Effect of Adjudication

(F.R.C.P. 23(b)(1)).      Class certification is appropriate because the prosecution of

individual actions by class members would:             (a) create the risk of inconsistent

adjudications that could establish incompatible standards of conduct for Defendant;

and/or (b) as a practical matter, adjudication of plaintiff=s claims will be dispositive of the

interests of class members who are not parties.

         18.    Common Conduct (F.R.C.P. 23(b)(2)).            Class certification is also

appropriate because Defendant has acted and refused to act in the same or similar manner

with respect to all Class members thereby making injunctive and declaratory relief

appropriate. Plaintiff demands such relief as authorized by the JFPA.

         19.    Predominance and Superiority (F.R.C.P. 23(b)(3)). Common questions

of law and fact predominate and a class action is superior to other methods of

adjudication.

                (a)    Proof of the claims of the representative plaintiff will also prove

the claims of the Class without the need for separate or individualized proceedings. The

faxes at issue do not contain an opt-out notice meeting the requirements of the statute,

and therefore Defendant may not claim any exception to liability with respect to Plaintiff



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or any other class member.

               (b)     Evidence regarding any exceptions to liability that Defendant may

attempt to assert and prove will come from Defendant’s records and will not require

individualized or separate inquiries or proceedings;

               (c)     Defendant has acted and is continuing to act pursuant to common

policies and practices in the same or similar manner with respect to all class members.

               (d)     The amount likely to be recovered by individual class members

does not support protracted individual litigation. A class action will permit a large

number of relatively small claims involving virtually identical facts and legal issues to be

resolved efficiently in one proceeding based on common proofs.

               (e)     This case is inherently manageable as a class action in that:

                       (i)     Defendant, or the entity that sent the faxes on Defendant’s

behalf, maintains computer and business records which will enable Plaintiff to readily

identify class members and establish liability and damages.

                       (ii)    liability and damages can be established for Plaintiff and

the class with the same common proofs.

                       (iii)   statutory damages are provided for in the statute and are the

same for all class members are can be calculated in the same or similar manner.

                       (iv)    a class action will result in an orderly and expeditious

administration of claims, and it will foster economies of time, effort and expense.

                       (v)     a class action will contribute to uniformity of decisions

concerning Defendants’ practices.

                       (vi)    as a practical matter, the claims of the Class are likely to go

unredressed absent class certification.

                             VI. FIRST CAUSE OF ACTION
    (Violation of the Junk Fax Prevention Act of 2005 and Telephone Consumer
                              Protection Act of 1991)


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       20.     Plaintiff refers to and incorporates herein the preceding paragraphs as

though fully set forth herein.

       21.    Defendant’s conduct constitutes a violation of the TCPA, and as amended

by the Junk Fax Prevention Act, 47 U.S.C. '227(b)(1)(C), which prohibits the use of a

telephone facsimile machine, or computer, or other device, to send an unsolicited

advertisement to another facsimile machine.

       22.     The faxes do not contain an opt-out notice meeting the requirements of 47

U.S.C. § 227 (b)(1)(C)(iii) and (b)(2)(D)(i)-(vi). Accordingly, Defendant may not

invoke the established business relationship exception or the defense of prior express

invitation or permission.

       23.     Pursuant to 47 U.S.C. ' 227(b)(3)(B), Defendant is liable to Plaintiff and

the members of the Class for minimum damages for each statutory violation in the

amount of $500.00. If the Court determines that the faxes were sent willfully or

knowingly, the Court may award treble damages in an amount not to exceed $1,500.00

for each statutory violation.

       24.      Pursuant to 47 U.S.C. '227(b)(3)(A), Plaintiff seeks to permanently

enjoin Defendant from violating the Act as described above.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff, on behalf of herself and all others similarly

situated, prays for judgment against Defendants, and requests that the Court:

       A.      Certify this action as a class action;

       B.      Award the full amount of statutory damages allowed under 47 U.S.C. §

227(b)(3) to Plaintiff and each member of the Class and against Defendant;



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       C.      Enjoin Defendant from further violations of the JFPA;

       D.      Award attorneys’ fees and costs based on the common fund doctrine

and/or upon any applicable statute;

       E.      Grant such other and further relief as the Court deems fair and proper

under the circumstances.

       The total claim in this action is for an amount in excess of arbitration limits.



Dated: September 26, 2007                     Respectfully submitted,


                                              /s/ Ann M. Caldwell________________
                                              Ann M. Caldwell/AMC1953
                                              Pa. I.D. No. 42252
                                              CALDWELL LAW OFFICE LLC
                                              108 W. Willow Grove Ave., Suite 300
                                              Philadelphia, PA 19118
                                              (215) 248-2030
                                              (215) 248-2031 (fax)

                                              Attorney for Plaintiff and the Class




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